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                           9   Attorneys for Defendant ELIZABETH A. HOLMES

                          10
                                                     IN THE UNITED STATES DISTRICT COURT
                          11
WILLIAMS & CONNOLLY LLP




                                                   THE NORTHERN DISTRICT OF CALIFORNIA
                          12
                                                               SAN JOSE DIVISION
                          13

                          14   UNITED STATES OF AMERICA,                      Case No. CR-18-00258-EJD

                          15                Plaintiff,                        WAIVER OF PERSONAL APPEARANCE
                                                                              AT ARRAIGNMENT AND ENTRY OF
                          16         v.                                       “NOT GUILTY” PLEA

                          17   ELIZABETH A. HOLMES and RAMESH                 COURT’S ACCEPTANCE OF WAIVER
                               “SUNNY” BALWANI,
                          18                                                  [RULE 10(b), Fed. R. Crim. P.]
                                            Defendants.
                          19                                                  Assigned to Hon. Edward J. Davila

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                               WAIVER OF PERSONAL APPEARANCE AT ARRAIGNMENT AND ENTRY OF “NOT GUILTY” PLEA
                               Case No. CR-18-00258 EJD
             Case 5:18-cr-00258-EJD Document 48 Filed 10/03/18 Page 2 of 3



       1          Pursuant to Rule 10(b) of the Federal Rules of Criminal Procedure, 1, Elizabeth A.
       2   Holmes, acknowledge and agree to the following in the above case:
       3           1.     1 have received a copy of the Superseding Indictment [Doc. 39] in this case. My
       4   attorney has discussed the charges with me and after being so advised, I understand the nature
       5   and substance of those charges, the maximum penalties, and my Constitutional rights. I waive a
       6   formal reading of the Superseding Indictment in open court.
       7          2.      1 understand 1 have a right to personally appear with my attorney in open court
       8   before a judicial officer for arraignment on the Superseding Indictment. By signing this Waiver,
       9   1 give up my right to personally appear in open court for an arraignment. 1 further understand
      10   that absent the present Waiver, 1 must appear before this Court as directed.
      11          3.      lam entering a “Not Guilty” plea with the filing of this Waiver. 1 understand that
Oh

      12   entry by the Court of my not guilty plea will conclude the arraignment in this case for all
      13   purposes.
o
      14          4.      1 have been informed of my rights under Title 18 U.S.C. § 3161-3174 (Speedy
o
u     15   Trial Act), and authorize my undersigned attorney to set times and delays under the Act without
c/5
      16   my being present.
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HH
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      18   DATED: October 3, 2018
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           WAIVER OF PERSONAL APPEARANCE AT ARRAIGNMENT AND ENTRY OF “NOT GUILTY” PLEA
           CaseNo. CR-I8-00258 EJD
                                   Case 5:18-cr-00258-EJD Document 48 Filed 10/03/18 Page 3 of 3


                           1          I am attorney of record for the above-named Defendant. I have reviewed the charges
                           2   against my client and agree and consent to the Waiver of Personal Appearance at Arraignment
                           3   and Entry of Not Guilty Plea.
                           4

                           5   DATED: October 3, 2018
                                                                                 WILLIAMS & CONNOLLY LLP
                           6

                           7                                                     By: /s/ Kevin M. Downey
                                                                                     Kevin M. Downey
                           8
                                                                                 Attorneys for Defendant
                           9                                                     ELIZABETH A. HOLMES
                          10

                          11
WILLIAMS & CONNOLLY LLP




                          12
                                      The Court accepts the Waiver of Defendant’s Appearance at Arraignment and enters a
                          13
                               plea of “Not Guilty” for the Defendant Elizabeth A. Holmes.
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                          16
                               DATED: October 3, 2018
                          17                                                     Magistrate Judge Susan van Keulen
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                               WAIVER OF PERSONAL APPEARANCE AT ARRAIGNMENT AND ENTRY OF “NOT GUILTY” PLEA
                               Case No. CR-18-00258 EJD
